      Case 2:13-cr-00024-TOR     ECF No. 157    filed 06/03/13   PageID.410 Page 1 of 1




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 2
                          UNITED STATES DISTRICT COURT
 3
                        EASTERN DISTRICT OF WASHINGTON
 4
 5 UNITED STATES OF AMERICA,                        No. CR-13-024-FVS-5
 6
 7              Plaintiff,                          ORDER GRANTING MOTION
                                                    TO MODIFY IN PART
 8 vs.
 9                                                  ☒     Motion Granted in Part
   JASON LEE ZUCKER,
10                                                        (ECF No. 155)
11              Defendant.
                                                    ☐     Action Required
12
13
14         Before the court is Defendant’s Motion to Modify release conditions. The
15   unopposed request to be employed throughout the week is GRANTED. Pretrial
16   Services may adjust Defendant’s curfew accordingly. The request to remove the
17   curfew, however, is DENIED.
18         The request to be allowed to travel outside the State of Washington, for
19   employment or to visit family, is taken under advisement. The parties may file
20   supplemental argument and factual materials.
21         All other conditions of release previously ordered shall remain in effect.
22         IT IS SO ORDERED.
23         DATED June 3, 2013.
24
                              S/ CYNTHIA IMBROGNO
25                      UNITED STATES MAGISTRATE JUDGE
26
27
28
     ORDER GRANTING MOTION TO MODIFY IN PART - 1
